Case 23-43817     Doc 42    Filed 11/08/23 Entered 11/08/23 10:15:38        Main Document
                                         Pg 1 of 2


                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

In re:                              )             HONORABLE Kathy A. Surratt-States
                                    )
                                    )             Case No. 23-43817-659
MATTRESS DIRECT, INC., et al.,      )             Chapter 11
            Debtors,                )
____________________________________)
USR-DESCO WASHINGTON CROSSING,)                   Motion for Relief from Automatic Stay
LLC,                                )
            Movant,                 )
                                    )
v.                                  )
                                    )
MATTRESS DIRECT, INC.,              )
            Respondent,             )

                                 NOTICE OF HEARING

         YOU ARE HEREBY NOTIFIED THAT Plaintiff, by and through undersigned counsel,

shall call up for hearing its Motion to Lift Stay on Monday, December 4, 2023, in Courtroom 7

North at 11:00 a.m. or as soon thereafter as counsel may be heard. Responses are due by

November 27, 2023.

                                          Respectfully submitted,
                                          HEIN SCHNEIDER & BOND P.C.

                                          /s/ Henry F. Luepke
                                          HENRY F. LUEPKE, #38782MO
                                          2244 S. Brentwood Blvd.
                                          St. Louis, Missouri 63144
                                          (314) 863-9100 Telephone
                                          (314) 863-9101 Facsimile
                                          hfl@hsbattorneys.com
                                          Attorneys for Movant
Case 23-43817      Doc 42    Filed 11/08/23 Entered 11/08/23 10:15:38            Main Document
                                          Pg 2 of 2


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
was filed electronically on November 8, 2023, with the United States Bankruptcy Court, Eastern
District of Missouri, and has been served on the parties in interest via e-mail by the Court’s
CMECF System as listed on the Court’s Electronic Mail Notice List.

       The undersigned likewise sent a copy of the foregoing to the Debtors via first class United
States Mail, postage prepaid to:

       Mattress Direct Inc.
       4280 North Service Road
       Saint Peters, MO 63376

                                             /s/ Henry F. Luepke




                                                2
